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				DEUTSCHE BANK NATIONAL TRUST COMPANY v. ROESLER2015 OK CIV APP 36348 P.3d 707Case Number: 112922Decided: 03/20/2015Mandate Issued: 04/15/2015DIVISION IVTHE COURT OF CIVIL APPEALS OF THE STATE OF OKLAHOMA, DIVISION IV
Cite as: 2015 OK CIV APP 36, 348 P.3d 707

				

DEUTSCHE BANK NATIONAL TRUST COMPANY, AS TRUSTEE FOR MORGAN 
STANLEY ABS CAPITAL I INC. TRUST 2006-HE3, Plaintiff/Appellee,v.FRANK 
VICTOR ROESLER, JR., Defendant/Appellant,andSPOUSE, IF ANY, OF FRANK 
VICTOR ROESLER, JR.; JOHN DOE, OCCUPANT; BENEFICIAL OKLAHOMA, INC.; and ARROW 
FINANCIAL SERVICES, LLC, Defendants.

APPEAL FROM THE DISTRICT COURT OFOKLAHOMA COUNTY, 
OKLAHOMA
HONORABLE THOMAS E. PRINCE, TRIAL JUDGE

AFFIRMED

Kirk Cejda, Michael K. Templeton, SHAPIRO &amp; CEJDA, L.L.P., Oklahoma City, 
Oklahoma, for Plaintiff/AppelleeRoland V. Combs, III, THE LAW FIRM OF ROLAND 
V. COMBS, III &amp; ASSOCIATES, PLC, Oklahoma City, Oklahoma and Sherry Doyle, 
SHERRY DOYLE, PLLC, Edmond, Oklahoma, for Defendant/Appellant


P. THOMAS THORNBRUGH, JUDGE:
¶1 Frank Victor Roesler, Jr., appeals the summary judgment of the district 
court in a mortgage foreclosure case. Upon review, we affirm the decision of the 
district court.
BACKGROUND
¶2 This record begins with a foreclosure action filed in April 2011. The 
petition alleged that, in January 2006, defendant Roesler executed a note and 
mortgage for $105,300 payable to WMC Mortgage Company (WMC). The petition 
alleged that Roesler had defaulted on the note in March 2010.1
¶3 Attached to the petition was the note between Roesler and WMC. The note 
was not endorsed. The petition also stated that the note had been assigned to 
plaintiff, Deutsche Bank National Trust Company, as Trustee (Deutsche Bank), and 
that the assignment had been recorded. No copy of the assignment was attached to 
the petition. Roesler answered, admitting making the mortgage to WMC but denying 
that Deutsche Bank had any right in the note, or authority to enforce it.
¶4 In November 2011, Deutsche Bank filed a motion for summary judgment, 
attaching an affidavit attributed to a "Crystal Reyes." The affidavit alleged 
that Reyes was an employee of "Wells Fargo Bank, N.A.," which was acting as 
"servicing agent" for Deutsche Bank, which was, in turn, acting as a trustee for 
Morgan Stanley ABS Capital I Inc. Trust 2006-HE3 (Morgan Stanley Trust). The 
affidavit further stated that the note went into default in March 2011, and that 
the current balance owed was $ 114,102.84. The summary judgment motion also 
contained a copy of the note that differed from the copy submitted with the 
petition, in that it bore an undated endorsement in blank by "Jessica Fuentes" 
on behalf of WMC. The same space on the note submitted with the petition was 
blank.
¶5 Roesler replied, alleging, among other arguments, that Deutsche Bank had 
still not demonstrated standing to enforce the note at the time the petition was 
filed. Roesler also noted that this was the second time Deutsche Bank had 
attempted to foreclose on the note, its first foreclosure having been dismissed 
in July 2010.
¶6 No further action occurred for almost a year. On October 10, 2012, 
Deutsche Bank apparently moved to amend its petition and, on the same day, the 
court dismissed the existing petition and granted leave to amend.2 On October 11, 
2012, Deutsche Bank filed what was, in fact, its third petition seeking to 
foreclose on the note. A copy of the note endorsed in blank by a purported agent 
of WMC was attached to this amended petition.
¶7 On October 31, 2012, Roesler filed a motion to dismiss. Roesler argued 
that Deutsche Bank still had not demonstrated the required standing. One year 
later, in October 2013, the court denied the motion to dismiss. In February 
2014, Deutsche Bank again moved for summary judgment. Roesler responded with the 
following arguments: 1) the only affidavit provided as to default was by an 
employee of Wells Fargo, and Wells Fargo was a stranger to the note; 2) Deutsche 
Bank had not demonstrated the required standing at the time the case was filed, 
and could not do so by filing an amended petition containing a copy of 
the note with an undated endorsement; 3) the alleged default occurred 
because either Deutsche Bank or WMC improperly moved for foreclosure in their 
first two petitions, and Deutsche Bank could not sue based on a default it 
caused; 4) there was no evidence that the alleged owner of the note, the Morgan 
Stanley Trust, ever had possession of the note or a right to enforce it; 5) 
pursuant to applicable New York and federal tax law governing the Morgan Stanley 
Trust as a "Real Estate Mortgage Investment Conduit" (REMIC), the Morgan Stanley 
Trust could not acquire any asset after July 24, 2006, and the record showed 
that, in July 2006, the note was still held by WMC; and 6) Deutsche Bank failed 
to give the required notice of default before initiating foreclosure.
¶8 In May 2014, the district court granted summary judgment to Deutsche Bank 
without commenting on these theories. Roesler now appeals.
STANDARD OF REVIEW
¶9 "Summary judgment will be affirmed only if the appellate court determines 
that there is no dispute as to any material fact and that the moving party is 
entitled to judgment as a matter of law." City of Jenks v. Stone, 2014 OK 11, ¶ 6, 321 P.3d 179. "Summary judgment 
will be reversed if the appellate court determines that reasonable men might 
reach different conclusions from the undisputed material facts." Id.
ANALYSIS
¶10 Roesler brings nine allegations of error, paraphrased below as 
follows:

  
    1. The trial court erred in granting summary judgment to Deutsche Bank 
    when it provided no evidence that it was the holder of the note when the 
    foreclosure was filed.
    2. The trial court erred when it accepted the "proffered document as the 
    instrument" when Deutsche Bank did not lay the foundation of the 
    authenticity of the note with a credible witness and testimony.
    3. The trial court erred when it placed the burden on Roesler to disprove 
    the authenticity of the proffered document as the alleged original note 
    rather than requiring Plaintiff to prove its allegation.
    4. The trial court erred in granting summary judgment to Deutsche Bank 
    because Deutsche Bank did not support its self-serving statements in its 
    Affidavit with admissible evidence.
    5. The trial court erred in granting summary judgment to Deutsche Bank 
    when Deutsche Bank provided no evidence to show that the affiant, an 
    employee of Wells Fargo, was competent to testify on behalf of Deutsche 
    Bank.
    6. The trial court erred in granting summary judgment to Deutsche Bank 
    when Deutsche Bank did not provide evidence of and prove delivery of the 
    note.
    7. The trial court erred in granting summary judgment to Deutsche Bank 
    when the only dated document presented by Deutsche Bank conflicts with the 
    terms of the Pooling and Servicing Agreement governing acceptance of the 
    note by the Trust, showing that Deutsche Bank was barred from accepting the 
    note into the Trust; and therefore, Deutsche Bank does not have 
standing.
    8 The trial court erred in granting summary judgment to Deutsche Bank 
    because Deutsche Bank's pleadings conflicted with prior pleadings. 
    Specifically, Deutsche Bank alleged a "true and correct copy" of the note 
    had been attached to the previous petition; however, that conflicted with 
    the "true and correct copy" of the note attached to the petition in the case 
    at hand.
    9. The trial court erred in granting summary judgment to Deutsche Bank 
    when Deutsche Bank alleged a default date during a time in which it had 
    already filed a previous foreclosure action, but after the date alleged in 
    the prior foreclosure petition.
We will address these allegations in turn.
I. The Trial Court Erred In Granting Summary Judgment to 
Plaintiff When It Provided No Evidence That It Was the Holder of the Note When 
the Foreclosure Was Filed
A. Standing in Foreclosure Cases
¶11 In 2012-2013, the Oklahoma Supreme Court issued several substantive 
opinions addressing the standing of a party to enforce a note and foreclose the 
associated mortgage. Those opinions held that, in order to have standing to sue 
for foreclosure, a plaintiff must have, and demonstrate, the right to enforce 
the subject note at the time of filing. Wells Fargo Bank, N.A. v. 
Heath, 2012 OK 54 ¶ 9, 280 P.3d 328, notes that:

  
    To commence a foreclosure action in Oklahoma, a plaintiff must 
    demonstrate it has a right to enforce the note and, absent a showing of 
    ownership, the plaintiff lacks standing . . . Appellee has the burden of 
    showing it is entitled to enforce the instrument . . . Unless the Appellee 
    was able to enforce the note at the time the suit was commenced, it cannot 
    maintain its foreclosure action against the 
Appellants.
Id. (citation omitted).
¶12 The Supreme Court set a simple procedure to enforce these requirements by 
requiring a prima facie showing of the right to enforce. A foreclosing 
party may, at the time of filing, attach a copy of a suitably endorsed 
note demonstrating possession and a right to enforce, or some other paper 
demonstrating the rights of a holder. If it does not do so, the petition is 
subject to dismissal. The defect may be cured by later submission of some 
document showing a prima facie right to enforce at the time the 
petition was filed. However, evidence produced after the petition, and 
showing only a right to foreclose at an unspecified time, does not meet 
this burden.
¶13 Examining the record in this case, it is clear that Deutsche Bank's 
petition did not make the required showing of its right to enforce the note at 
the time of its initial filing. The petition contained a note between Roesler 
and WMC with no endorsement. Although Deutsche Bank later supplied a copy 
of the note endorsed in blank, the endorsement was not dated. As such, it could 
not establish that Deutsche Bank had a right to enforce in April 2011.3
¶14 We emphasize that the jurisdictional showing required by the Supreme 
Court in these foreclosure cases is only that of a prima facie right to 
enforce. Possession of a suitably endorsed note is prima facie evidence 
of ownership by the holder. Cahill v. Kilgore, 1960 OK 88, ¶ 15, 350 P.2d 928. This showing does not 
indisputably establish the legal right to foreclose, but only that a 
justiciable case for foreclosure, i.e., standing, exists.
¶15 We emphasize this distinction because this Court has received an 
increasing number of submissions arguing that any and all questions 
regarding the final validity or enforceability of a note have become "standing" 
issues, and hence "jurisdictional" issues. We state emphatically that attaching 
a copy of a facially enforceable note to a petition establishes a 
prima facie case for standing. All further questions regarding the final 
legal right of a plaintiff or claimant to foreclose on the note remain merits 
questions.4
¶16 Deutsche Bank argued that it recorded a transfer of a mortgage on the 
subject property prior to foreclosure; that this transfer of the mortgage 
purported to also transfer the note; and that this evidences a right to 
enforce in March 2011. Oklahoma jurisprudence is clear that the right to enforce 
the note is fundamental in these cases, and that the mortgage follows the 
note, not vice versa. "An assignment of the mortgage, however, is of no 
consequence because under Oklahoma law '[p]roof of ownership of the note carried 
with it ownership of the mortgage security.'" Deutsche Bank Nat'l Trust Co. 
v. Byrams, 2012 OK 4 ¶ 5, 275 P.3d 129, (quoting Engle v. 
Fed. Nat'l Mortg. Ass'n, 1956 OK 
176, ¶ 7, 300 P.2d 997). 
"Therefore, in Oklahoma it is not possible to bifurcate the security interest 
from the note." Byrams, ¶ 4. The transfer of a mortgage 
does not create a right to enforce an associated note. The transfer of a note 
creates a right to enforce an associated mortgage.
B. The Amended Petition
¶17 On October 11, 2012, with court permission, Deutsche Bank filed an 
amendment to its dismissed April 2011 petition. The amended petition contained 
the same note, with an undated endorsement in blank, that Bank had submitted as 
part of its prior summary judgment motion. Deutsche Bank argues that this 
procedure cured the failure to make the required prima facie showing of a 
right to enforce pursuant to HSBC Bank USA v. Lyon, 2012 OK 10, 276 P.3d 1002.
¶18 Although the Supreme Court does not appear to have explicitly stated so, 
the procedure approved in Lyon inherently holds that an "amended" 
petition filed after a dismissal is legally an initial petition for the 
purposes of "standing" to enforce a note, even though it is filed under the same 
case number. Otherwise, the submission of a note with an undated endorsement 
with the amended petition still would not cure the defect, because it 
would not show that a plaintiff had a right to enforce at the time the case 
was originally filed. In this case, the undated endorsement to the 
note does show a right to enforce at the time of "amendment." This is sufficient 
to cure the standing defect pursuant to Supreme Court precedent. Hence, Deutsche 
Bank first made the required showing of a right to enforce in its amended 
petition of October 11, 2012.
II. The Trial Court Erred When It Accepted the Proffered 
Document As the Instrument When Plaintiff Did Not Lay the Foundation of the 
Authenticity of the Note with a Credible Witness and Testimony.
¶19 In response to Deutsche Bank's final summary judgment motion, Roesler 
admitted making the note, and stated that he did not dispute the authenticity of 
the signatures on it. He stated, however, that there was "no evidence that the 
piece of paper [plaintiff] had in its possession is the note." He further denied 
that "WMC holds the note."5 The record indicates that Deutsche Bank produced the 
note for Roesler's inspection; that it provided an affidavit from the Vice 
President of Loan Documentation of Wells Fargo stating that Wells Fargo acted as 
"servicer" of the loan for Deutsche Bank; and that Deutsche Bank was in 
possession of the note.
¶20 The record is clear that Deutsche Bank showed actual physical possession 
of Roesler's note, endorsed in blank as bearer paper. Possession of a suitably 
endorsed note is prima facie evidence of ownership by the holder. 
Cahill v. Kilgore, 1960 OK 
88, ¶ 15, 350 P.2d 928. 
"Prima facie evidence is such evidence as in the judgment of law is 
sufficient to establish a fact, and if not rebutted, remains sufficient to 
establish that fact." Matter of Estate of Hardaway, 1994 OK 30, ¶ 15, 872 P.2d 395. A proper foundation 
was established for introduction of the note.
III. The Trial Court Erred When It Placed the Burden on 
Defendant to Disprove the Authenticity of the Proffered Document As the Alleged 
Original Note Rather Than Requiring Plaintiff to Prove Its Allegation.
¶21 As noted above, production of the blank endorsed note constituted 
prima facie evidence of a right to enforce. The burden then shifted to 
Roesler to rebut the presumption of authenticity. Cahill, 1960 OK 88, ¶ 15.
IV. The Trial Court Erred In Granting Summary Judgment to 
Plaintiff Because Plaintiff Did Not Support Its Self-Serving Statements in Its 
Affidavit with Admissible Evidence
¶22 Roesler next argues that the court should have disregarded the supporting 
affidavit from the Vice President of Loan Documentation of Wells Fargo because 
it was self-interested, and therefore not "admissible evidence." Roesler 
apparently relies on the rule of Poafpybitty v. Skelly Oil Co., 1973 OK 110, 517 P.2d 432, which states that, 
when an affiant has an interest in the result of a suit, the credibility of his 
testimony is to be submitted to the jury as a question of fact. Id., ¶¶ 
16-17. It appears from the record that "the Vice President of Loan 
Documentation" is an employee of Wells Fargo. He is not personally a party, and 
we find no record that he has a direct personal interest in the foreclosure of 
this note. An employee who is neither subject to personal liability by a suit, 
nor a direct beneficiary of a suit, is not an "interested party" pursuant to 
Poafpybitty. See Battles v. Cough, 1997 OK CIV APP 62, ¶ 17, 947 P.2d 600; Frank By &amp; 
Through Gray v. Merciez, 1991 OK 
CIV APP 14, 806 P.2d 1147. 
The district court did not err by considering this affidavit as evidence on 
summary judgment.
V. The Trial Court Erred In Granting Summary Judgment to 
Plaintiff When Plaintiff Provided No Evidence to Show That Affiant, An Employee 
of Wells Fargo, Was Competent to Testify on Behalf of Plaintiff, Deutsche 
Bank.
¶23 The affidavit in question stated the affiant had been duly sworn; was 
authorized to make the affidavit on behalf of Deutsche Bank; had examined the 
regularly kept business records of Wells Fargo regarding the note and mortgage; 
and had personal knowledge of them. This affidavit indicated that the affiant 
was competent to give evidence. It did not inherently lack credibility. The 
burden then shifted to Roesler to show some question of material fact as to this 
evidence. Reeds v. Walker, 2006 OK 43, ¶ 32, 157 P.3d 100.
VI. The Trial Court Erred In Granting Summary Judgment to 
Plaintiff When Plaintiff Did Not Provide Evidence of and Prove Delivery of the 
Note.
¶24 Roesler's brief in opposition to summary judgment argues that the fact 
that the blank endorsement on the note is undated means that "the court [cannot] 
determine whether an actual transfer and delivery of the note has occurred." 
Delivery is defined as the voluntary transfer of possession. 12A O.S.2001 § 1-201(b)(15). The 
transferee would then be vested with any right of the transferor to enforce the 
note. 12A O.S.2001 § 3-203(b). In 
its response, Deutsche Bank stated it had produced the original note, with 
endorsement, for inspection by the court and defendant. Roesler did not dispute 
this fact. Possession was therefore shown, and there was no evidence that Bank's 
possession was due to anything other than a voluntary transfer. Thus, the 
delivery requirement was met.
VII. The Trial Court Erred In Granting Summary Judgment to 
Plaintiff When the Only Dated Document Presented by Plaintiff Conflicts with the 
Terms of the Pooling and Servicing Agreement Which Governs Acceptance of the 
Note by the Trust, Showing That Plaintiff Was Barred from Accepting the Note 
Into the Trust; Therefore, Plaintiff Does Not Have Standing.
¶25 Variations on this argument have been raised in a number of recent 
appeals. Generally, the defendant argues that the owner of the note is some form 
of specialized trust which, according to its trust agreement, can only accept 
assets during a limited period (often one year and three months after the trust 
opens). The defendant then argues that, because the endorsement is undated, 
there is no evidence the note was transferred to the trust within this time 
frame, and hence no evidence of a "right to enforce."
¶26 Roesler frames this issue as one of standing. As we have previously 
noted, the presentation of a facially valid note satisfies the initial standing 
inquiry, and the question of the final right to enforce becomes a merits 
question. The issue does, however, implicate standing in another way, because 
the Morgan Stanley Trust is not barred from owning the note as a matter of 
mortgage law, but is allegedly barred by the Trust's own operating agreement. 
The initial question is, therefore, whether Roesler has standing to 
challenge the acceptance of an asset into the Trust outside the period specified 
by the trust agreement?
¶27 We are directed to no Oklahoma precedent on this issue, and find little 
other authority. However, in In re Almeida, 417 B.R. 140, 149 (Bankr. D. 
Mass. 2009), a federal bankruptcy court generally assessed whether a stranger to 
a trust may challenge whether the trust's regulations were followed in the 
acquisition or transfer of an asset. The Almeida court noted:

  
    A failure to follow this protocol--such as by direct assignment of the 
    mortgage from the loan originator to the pool trustee, bypassing the 
    depositor--would, the Debtor contends, constitute a breach of the PSA 
    [Pooling and Service Agreement], a breach of fiduciary obligations under the 
    PSA to investors, a breach of federal regulations, and an act giving rise to 
    unfavorable tax consequences for the investors. The Debtor argues that 
    because the Confirmatory Assignment is a direct assignment from Argent to 
    Deutsche Bank that bypasses the depositor, it must be invalid. This argument 
    falls far short of its goal. Even if this direct assignment were somehow 
    violative of the PSA, giving rise to unfavorable tax, regulatory, 
    contractual, and tort consequences, neither the PSA nor those 
    consequences would render the assignment itself invalid. In fact, under 
    the Debtor's own argument, the unfavorable consequences could and would 
    arise only if, and precisely because, the assignment were valid and 
    effective (emphasis added).
That court further noted that the debtor

  
    [i]s not a third party beneficiary of the PSA, and, ironically, he would 
    appear to lack standing to object to any breaches of the terms of the PSA. 
    It would appear to this Court that the investors who bought securities based 
    upon the pooled mortgages would be the parties with standing to object to 
    any defects in those mortgages resulting from any failure to abide by the 
    express provisions of the PSA.
Id., n. 4.
¶28 We reach the same conclusion in this case. Whether the Morgan Stanley 
Trust may suffer adverse regulatory or tax consequences, or even be subject to 
suit by its beneficiaries because of a transfer outside of the stated period for 
accepting assets is not a claim Roesler has standing to raise.
VIII. The Trial Court Erred in Granting Summary Judgment to 
Plaintiff Because Plaintiff's Pleadings Conflicted with Prior Pleadings. 
Specifically, Plaintiff Alleged a "True and Correct Copy" of the Note Had Been 
Attached to the Previous Petition; However, That Conflicted with the "True and 
Correct Copy" of the Note Attached to the Petition In the Case At Hand.
¶29 The allegation revolves around the fact that Deutsche Bank's first record 
petition contained a copy of an unendorsed note, while the amended petition 
contained a copy of an endorsed note, both of which were stated to be "true and 
correct" copies. Roesler argues that a question of material fact therefore 
exists.
¶30 Roesler's proposition is entirely incompatible with the procedure 
endorsed by the Supreme Court in Lyon. Lyon is clear that the 
failure to submit an appropriately endorsed note can be cured by dismissing the 
suit and filing an amended petition with an appropriately endorsed note. In 
Lyon, the originally submitted note was facially deficient as it was not 
properly endorsed. Lyon, 2012 
OK 10, ¶ 10. HSBC dismissed and re-filed, attaching a note with a blank 
indorsement from the original lender. Id. The Supreme Court affirmed 
summary judgment on the re-filed note. Id. This result would be 
impossible if the two notes were deemed to have created a "material question of 
fact." We therefore reject this proposition of error.
IX. The Trial Court Erred In Granting Summary Judgment to 
Plaintiff When Plaintiff Alleged a Default Date During a Time In Which It Had 
Already Filed a Previous Foreclosure Action, but After the Date Alleged In the 
Prior Foreclosure Petition.
¶31 Deutsche Bank's first record petition alleges that Roesler defaulted on 
the March 1, 2010 payment. In its first motion for summary judgment, 
Deutsche Bank alleged by affidavit that default occurred on this date, and had 
not been cured. In its amended petition, Deutsche Bank again alleged that 
Roesler defaulted on the March 1, 2010 payment. In its second motion for summary 
judgment, Deutsche Bank again alleged by affidavit that default occurred on this 
date, and had not been cured. The record before us shows no inconsistency in the 
default date. Roesler brought no evidence that he had paid, or attempted to pay, 
the mortgage after this date.
¶32 Attempting to decode the exact meaning of "Plaintiff alleged a default 
date during a time in which it had already filed a previous foreclosure action, 
but after the date alleged in the prior foreclosure petition," we note that 
Roesler apparently argues one of two theories. The first is that WMC had 
attempted to foreclose on the mortgage in 2009, alleging an earlier default 
date, and had then dismissed that petition, creating a "question of fact" as to 
the default date.
¶33 This proposition may argue that a foreclosing party must state the 
exact and actual date of any default pursuant to the terms of the note, 
and that any contradictory statements as to this date render summary judgment 
inappropriate. We disagree. The note itself is clear that the right to 
declare default belongs to the holder. If the note is in default pursuant 
to its terms, the holder has a right to declare the whole amount due and bring a 
foreclosure action at any future time within the statute of limitations.
¶34 Simply put, a holder does not lose any right to foreclose because the 
payor defaults on one date, but the holder does not declare default until a 
later date. Beyond the fact that a default has occurred, the default date 
becomes significant only if it is a disputed material fact used in 
calculating the amount the defaulting party owes the holder. We are directed to 
no evidence that using March 1, 2010, as the default date adversely affected the 
calculation of any amount due from Roesler.
¶35 Roesler's second theory appears to be that, when the initial petition was 
dismissed and the amended petition was filed, the default somehow ceased to 
exist, and hence Deutsche Bank was required to allege a new default date. We 
find no law indicating that the dismissal of a petition cures a default or 
changes the default date. We find no error in the summary judgment based on the 
alleged date of default.
CONCLUSION
¶36 We find no error in the district court's summary judgment. Accordingly, 
the judgment is affirmed.

¶37 AFFIRMED. 

RAPP, P.J., and BARNES, J., concur.

FOOTNOTES

1 The 
record indicates that WMC attempted to foreclose on the note in 2009, but 
dismissed that petition. We have no record of this first attempted foreclosure. 
For clarity, we will refer to the 2011 foreclosure petition as the first 
record foreclosure.

2 The 
court evidently recognized the defective nature of the showing of standing in 
the April 2011 petition, and dismissed with leave to amend pursuant to current 
Supreme Court precedent.

3 In 
fact, Deutsche Bank stated that the unendorsed note was a "true and correct" 
copy of the note at the time of filing, indicating that the endorsement was made 
after the petition was filed.

4 If the 
entire question of whether a plaintiff has a right to enforce a contract 
is a "standing" issue, no plaintiff ever loses such a claim "on the 
merits," but simply "loses standing" when a claim is adjudicated and denied, and 
all questions regarding a judgment are therefore "standing" questions.

5 The 
purpose of this denial is uncertain, given that WMC made no entry of appearance 
or claim to be the owner, the holder, or the foreclosing 
party.





	Citationizer© Summary of Documents Citing This Document
	
	
		Cite
		Name
		Level
	
	
	None Found.
	
	
	Citationizer: Table of Authority
	
	
		Cite
		Name
		Level
	
	
	Oklahoma Court of Civil Appeals Cases
&nbsp;CiteNameLevel

&nbsp;1991 OK CIV APP 14, 806 P.2d 1147, 62 OBJ        1095, Frank By and Through Gray v. MerciezDiscussed
&nbsp;1997 OK CIV APP 62, 947 P.2d 600, 68 OBJ        3671, Battles v. CoughDiscussed
Oklahoma Supreme Court Cases
&nbsp;CiteNameLevel

&nbsp;1994 OK 30, 872 P.2d 395, 65 OBJ        959, In the Matter of the Estate of HardawayDiscussed
&nbsp;1956 OK 176, 300 P.2d 997, ENGLE v. FEDERAL NATIONAL MORTGAGE ASSOCIATIONDiscussed
&nbsp;1960 OK 88, 350 P.2d 928, CAHILL v. KILGOREDiscussed at Length
&nbsp;1973 OK 110, 517 P.2d 432, POAFPYBITTY v. SKELLY OIL COMPANYDiscussed
&nbsp;2006 OK 43, 157 P.3d 100, REEDS v. WALKERDiscussed
&nbsp;2012 OK 4, 275 P.3d 129, DEUTSCHE BANK NATIONAL TRUST COMPANY v. BYRAMSDiscussed
&nbsp;2012 OK 10, 276 P.3d 1002, HSBC BANK USA v. LYONDiscussed at Length
&nbsp;2012 OK 54, 280 P.3d 328, WELLS FARGO BANK, N.A. v. HEATHDiscussed
&nbsp;2014 OK 11, 321 P.3d 179, CITY OF JENKS v. STONEDiscussed
Title 12A. Uniform Commercial Code
&nbsp;CiteNameLevel

&nbsp;12A O.S. 1-201, General Definitions and Principles of InterpretationCited
&nbsp;12A O.S. 3-203, Transfer of Instrument; Rights Acquired by TransferCited


	
	



				
					
					
				
             
         
        
            
            
        

		
        
        
        
		
		
		
		
		

    
